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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________

 ANDREW R. PERRONG
 1657 THE FAIRWAY #131
 JENKINTOWN, PA 19046

                Plaintiff
                                                      Case No.
 vs.

 DR. OZ FOR SENATE                                     JURY TRIAL DEMANDED
 2771 PHILMONT AVE.
 HUNTINGDON VALLEY, PA 19006

 AND

 MEHMET OZ
 2771 PHILMONT AVE.
 HUNTINGDON VALLEY, PA 19006

        Defendants.



                                         COMPLAINT

                                     Preliminary Statement

       1.      Plaintiff Andrew R. Perrong (“Plaintiff”), brings this action under the Telephone

Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a federal statute enacted in response to

widespread public outrage about the proliferation of intrusive, nuisance calling practices. See

Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).

       2.      The Defendants in this action, Dr. Mehmet Oz and his Political Action

Committee, Dr. Oz for Senate, orchestrated placing at least three illegal, campaign-related

prerecorded “robocalls” to the Plaintiff’s telephone number.

       3.      The Plaintiff never consented to receive such messages.



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                                               Parties

        4.      Plaintiff Andrew R. Perrong is a Pennsylvania resident, and a resident of this

District.

        5.      Defendant Dr. Oz for Senate is a Political Action Committee (PAC) which was

organized to support Defendant Mehmet Oz’s campaign for the United States Senate. The PAC

is headquartered and therefore resides in this District.

        6.      Defendant Mehmet Oz is, inter alia, a candidate for United States Senate who

directed the illegal robocalls complained of herein. Defendant Oz is a resident of this District.

                                       Jurisdiction & Venue

        7.      The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740 (2012).

        8.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events or omissions giving rise to the claim occurred in this District, as the automated

messages to the Plaintiff were placed into this District.

                           The Telephone Consumer Protection Act

        9.      In 1991, Congress enacted the TCPA to regulate the explosive growth of the

automated calling industry. In so doing, Congress recognized that “[u]nrestricted telemarketing .

. . can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub.

L. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

        10.     Under the TCPA, an individual candidate such as Defendant Mehmet Oz may be

personally liable for the acts alleged in this Complaint pursuant to 47 U.S.C. § 217 of the TCPA,

which reads, inter alia:

        [T]he act, omission, or failure of any officer, agent, or other person acting for or
        employed by any common carrier or user, acting within the scope of his employment,

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        shall in every case be also deemed to be the act, omission, or failure of such carrier or
        user as well as of that person.
        47 U.S.C. § 217 (emphasis added).


        11.    When considering individual liability under the TCPA, other Courts have agreed

that an officer or individual involved in the telemarketing at issue may be personally liable under

the TCPA. See, e.g., Jackson Five Star Catering, Inc. v. Beason, 2013 U.S. Dist. LEXIS 159985,

*10 (E.D. Mich. Nov. 8, 2013) (“[M]any courts have held that corporate actors can be

individually liable for violating the TCPA where they had direct, personal participation in or

personally authorized the conduct found to have violated the statute.”) (cleaned up); Maryland v.

Universal Elections, 787 F. Supp. 2d 408, 415-16 (D. Md. 2011) (“If an individual acting on

behalf of a corporation could avoid individual liability, the TCPA would lose much of its

force.”).

        12.    Defendant Oz personally participated in the actions complained of by personally

directing and authorizing the scripting and selecting of calls to be made, personally voicing at

least one of the pre-recorded messages, and personally paying for, selecting, and orchestrating

the calling strategy, including by choosing to use pre-recorded calls.

The TCPA Prohibits all Automated Calls To Protected Numbers

        13.    The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an

automatic telephone dialing system or an artificial or prerecorded voice . . . to any telephone

number assigned to a . . . paging service, cellular telephone service, specialized mobile radio

service, or other radio common carrier service, or any service for which the called party is

charged for the call.” See 47 U.S.C. § 227(b)(1)(A)(iii).



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       14.     Congress singled out these services for special protection either because Congress

realized their special importance in terms of consumer privacy and therefore protected them (as

in the case of cellular phones), or because the numbers are assigned to services, like Mr.

Perrong’s VoIP service, for which the called party is charged, thus shifting the cost of automated

or prerecorded messages onto consumers. See Barr v. Am. Ass’n of Pol. Consultants, Inc, 140 S.

Ct. 2335, 2363, (2020) (Gorsuch, J. & Thomas, J., concurring in part and dissenting in part).

       15.     According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such

messages are prohibited because, as Congress found, automated or prerecorded messages are a

greater nuisance and invasion of privacy than live ones, are costly, and are inconvenient.

       16.     The TCPA provides a private cause of action to persons who receive calls in

violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

       17.     This cause of action applies to users of any one of the four protected services

(pager, cellular, specialized mobile radio [i.e. radiotelephony locator beacons or dispatch

systems], or another radio common carrier service [i.e. ship-to-shore or air-to-ground]), or any

service, including residential, VoIP, and landline services, for which the called party is charged.

See Lynn v. Monarch Recovery Mgmt., Inc., 953 F. Supp. 2d 612, 623 (D. Md. 2013).

       18.     “Non-emergency prerecorded voice or autodialed calls to [the destinations

enumerated in 47 U.S.C. § 227(b)(1)(A)] are permissible only with the prior express consent of

the called party.” This includes political calls. See FCC Enforcement Advisory: Tel. Consumer

Prot. Act Robocall & Text Rules - Biennial Reminder for Pol. Campaigns About Robocall & Text

Abuse, 31 FCC Rcd. 1940, 1941 n.6 (2016) [hereinafter FCC Advisory].




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                                       Factual Allegations

        19.     Defendants are a candidate for U.S. Senate, Mehmet Oz, and the PAC organized

for his campaign.

        20.     To generate support for Mehmet Oz in the 2022 primary election, Defendants

relied on prerecorded “robocalls.”

The Calls to Mr. Perrong

        21.     Plaintiff Perrong is a “person” as defined by 47 U.S.C. § 153(39).

        22.     Plaintiff’s telephone number (the “Number”), 215-947-XXXX, is on the National

Do Not Call Registry and has been continuously since 2005.

        23.     Despite this registration, the Defendants sent three prerecorded “robocalls” to

Plaintiff on March 5, April 20, and May 16, 2022.

        24.     The Number is assigned to a Voice over Internet Protocol (VoIP) telephone

service, which allows for voice calls to be placed over a broadband Internet connection.

        25.     That Number, which is assigned to a VoIP telephone service, is charged for each

call it receives.

        26.     The VoIP telephone service for the Number is Anveo.

        27.     The services charges a ring charge of $0.005 for the provision of Caller ID Name

lookup information for each call placed to the Number, even if the call is not answered.

        28.     The service also charges a per-minute charge of $0.004 per minute for voice

charges for each minute of talk time, including voicemail time, for each call placed to the

Number.




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       29.     The Number is therefore “assigned to a . . . service for which the called party is

charged for the call” and any calls placed to that number are subject to the restrictions

enumerated in 47 U.S.C. § 227(b)(1)(A)(iii).

       30.     Despite this, Defendants placed a pre-recorded call to the Number from the caller

ID 610-679-9074 on March 5, 2022.

       31.     The pre-recorded call stated:

       “Hi, this is Ali with Dr. Oz for Senate. Dial 844-660-0494 to opt out from these
       messages. I’m calling to invite you to an event in your area with Dr. Oz on Tuesday,
       March 8 at 7pm. It’ll be at the Normandy Farm and Conference Center at 1401 Morris
       Road in Blue Bell. If you have any questions or you’d like to RSVP, please give us a call
       back at 610-679-9074. We hope to see you there. Thanks for your time and this call was
       paid for by Dr. Oz for Senate 610-679-9074.”

       32.     Defendants continued to call. They placed another pre-recorded call from the

caller ID 610-679-9074 to the Number on April 20, 2022.

       33.     The pre-recorded call stated:

       “Hi, my name is Margo from the Dr. Oz for Senate campaign calling with a quick
       reminder about our event tomorrow in Bristol with Dr. Oz and Dr. Ben Carson. It will be
       at 9am at Falls Manor at 4010 News Falls Road in Bristol. If you have any questions,
       give us a call at 610-679-9074. Thanks! We’re looking forward to seeing you there.”


       34.     Defendants continued to call. They placed another pre-recorded call from the

caller ID 412-209-6209 to the Number on May 16, 2022.

       35.     The pre-recorded call, which was voiced by Defendant Oz, stated:

       “Paid for by Dr. Oz for Senate at 2771 Philmont Avenue, Huntington Valley,
       Pennsylvania 19006. Phone number is 610-679-9074. Hello, this is Dr. Mehmet Oz. I’m
       running for Senate and I’m endorsed by President Trump. I’m calling to invite you to join
       me for a tele-rally with President Trump happening right now at 7pm. Stay on the line to
       be connected to the free tele-rally or you can dial 412-209-6209 again that’s 412-209-
       6209. Thank you. Paid for by Dr. Oz for Senate 610-679-9074.”




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       36.      The Plaintiff never provided his consent or requested these calls.

       37.      The calls were not necessitated by any emergency.

       38.      Plaintiff was harmed by these calls. He was temporarily deprived of legitimate

use of his telephone and his privacy was improperly invaded. The Plaintiff was charged for the

calls. Moreover, they injured Plaintiff because they were frustrating, obnoxious, annoying, were

a nuisance and disturbed the solitude of Plaintiff.


                                           Legal Claims

                                          Count One:
                Violation of the TCPA’s Prohibition Against Automated Calling
                                   Via Pre-Recorded Message

       39.      Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

       40.      The foregoing acts and omissions of Defendants and/or their affiliates, agents,

and/or other persons or entities acting on Defendants’ behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by sending calls, except for emergency purposes, to the

telephone number of Plaintiff using a prerecorded voice.

       41.      As a result of Defendants’ and/or their affiliates, agents, and/or other persons or

entities acting on Defendants’ behalf’s violations of the TCPA, 47 U.S.C. § 227, Plaintiff is

entitled to an award of $500 in damages for each and every call made to his telephone number

for which he is charged for the call using an artificial or prerecorded voice in violation of the

statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

       42.      Plaintiff is also entitled to and does seek injunctive relief prohibiting Defendants

and/or their affiliates, agents, and/or other persons or entities acting on Defendants’ behalf from




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violating the TCPA, 47 U.S.C. § 227, by making calls or sending messages, except for

emergency purposes, to any number using an artificial or prerecorded voice in the future.

       43.     The Defendants’ violations were willful and/or knowing.


                                         Relief Sought

       WHEREFORE, Plaintiff requests the following relief:

       A.      Injunctive relief prohibiting Defendants from calling telephone numbers using an

               artificial or prerecorded voice and/or ATDS.

       B.      Because of Defendants’ violations of the TCPA, Plaintiff seeks for himself $500

               in damages for each violation or—where such regulations were willfully or

               knowingly violated—up to $1,500 per violation, pursuant to 47 U.S.C. §

               227(b)(3).

       C.      Such other relief as the Court deems just and proper.




       Plaintiff requests a jury trial as to all claims of the complaint so triable.



Dated: July 11, 2022



                                               _______________________/s/_______________
                                                                        Andrew R. Perrong
                                                                            Plaintiff Pro-Se
                                                                    1657 The Fairway #131
                                                                     Jenkintown, PA 19046
                                                                      Phone: 215-791-6957
                                                                   Facsimile: 888-329-0305
                                                                  andyperrong@gmail.com



                                                8
JS 44 (Rev. 04/21)                 Case 2:22-cv-02724-ER
                                                    CIVILDocument
                                                          COVER1SHEET
                                                                  Filed 07/11/22 Page 9 of 11
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
       ANDREW R. PERRONG                                                                                   DR. OZ FOR SENATE
       1657 THE FAIRWAY #131, JENKINTOWN, PA 19046                                                         2771 PHILMONT AVE. HUNTINGDON VALLEY, PA 19006
   (b) County of Residence of First Listed Plaintiff MONTGOMERY                                            County of Residence of First Listed Defendant MONTGOMERY
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)

         ANDREW R. PERRONG (PRO SE); 1657 THE FAIRWAY
         #131, JENKINTOWN, PA 19046; 215-791-6957
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                     New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                      840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       TELEPHONE CONSUMER PROTECTION ACT, 47 USC 227; 47 CFR 64.1200
VI. CAUSE OF ACTION Brief description of cause:
                                       DEFENDANTS CALLED PLAINTIFF IN VIOLATION OF THE TCPA
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                               4,500                                       JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
07/11/2022
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case 2:22-cv-02724-ER Document 1 Filed 07/11/22 Page 10 of 11
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                             Case 2:22-cv-02724-ER   Document
                                                UNITED          1 Filed
                                                       STATES DISTRICT   07/11/22 Page 11 of 11
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: ______________________________________________________________________________________________

Address of Defendant: ____________________________________________________________________________________________

Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                   Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                       Yes                    No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                      Yes                    No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                         Yes                    No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                      Yes                    No
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /      is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: __________________________________                     __________________________________________                     ___________________________________
                                                                      ----------------- / Pro Se Plaintiff
                                                                     Attorney-at-Law                                                     Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.   Insurance Contract and Other Contracts
       2.     FELA                                                                               2.   Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.   Assault, Defamation
       4.     Antitrust                                                                          4.   Marine Personal Injury
       5.     Patent                                                                             5.   Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.   Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                       7.   Products Liability
       8.     Habeas Corpus                                                                      8.   Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.   All other Diversity Cases
       10.    Social Security Review Cases                                                            (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                          ARBITRATION CERTIFICATION
                                                  (

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


DATE: __________________________________                     __________________________________________                     ___________________________________
                                                                     ------------------
                                                                     Attorney-at-Law / Pro Se Plaintiff                                  Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
